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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                              BUTTE DIVISION

 UNITED STATES OF AMERICA,                            CR 20–12–BU–DLC

                      Plaintiff,

 vs.                                                         ORDER

 JUSTIN PATRICK KLINE,

                       Defendant.

       Before the Court is United State Magistrate Judge Kathleen L. DeSoto’s

Findings and Recommendation Concerning Plea. (Doc. 45.) Because neither party

objected, they are not entitled to de novo review. 28 U.S.C. § 636(b)(1); United

States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003). Therefore, the Court

reviews the Findings and Recommendation for clear error. McDonnel Douglas

Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981). Clear

error exists if the Court is left with a “definite and firm conviction that a mistake

has been committed.” United States v. Syrax, 235 F.3d 422, 427 (9th Cir. 2000).

       Mr. Kline is charged with one count of receipt of a firearm and ammunition

with intent to commit a felony, in violation of 18 U.S.C. § 924(b). (Doc. 32.)

Based on Mr. Kline’s appearance before Judge DeSoto, pursuant to Federal Rule

of Criminal Procedure 11, she recommends that this Court adjudge him guilty of

the aforementioned offense, defer acceptance of the Plea Agreement (Doc. 31)

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until it has reviewed the agreement and the Presentence Investigation Report, and

impose the agreed forfeiture against him. (Doc. 45 at 2.) Reviewing these

recommendations for clear error, the Court finds none.

      Accordingly, IT IS ORDERED that the Court ADOPTS the Findings and

Recommendation (Doc. 45) IN FULL.

      IT IS FURTHER ORDERED that Mr. Kline’s motion to change plea (Doc.

33) is GRANTED, and he is adjudged guilty as charged in the sole count of the

Superseding Information.

      IT IS FURTHER ORDERED that in light of the United States’ Unopposed

Motion for Preliminary Order of Forfeiture (Doc. 46), the Court will adjudicate the

issue of forfeiture by separate order.

      DATED this 6th day of November, 2020.




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